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CLERK OF COURTS
MAHONING COUNTY, OHIO

IN THE COURT OF COMMON PLEAS
CRIMINAL DIVISION AUG 24 2016
MAHONING COUNTY, OHIO

FILED
ANTHONY VIVG, CLERK
STATE OF OHIO )
) CASE NO. 15 CR 538
PLAINTIFF )
) JUDGE LOU A. D’APOLITO
-VS.- }
) AFFIDAVIT
MARQUAN WHITE, )
)
DEFENDANT )
STATE OF OHIO )
) SS:
COUNTY OF MAHONING )

NOW COMES Asst. Prosecutor Dawn P. Cantalamessa (hereinafter “A ffiant”’)
and, after having been first duly sworn and cautioned, deposes and says as follows:

1, Affiant is an assistant prosecutor in the Mahoning County Prosecutor’s Office
and is responsible for prosecuting the case of State of Ohio v. Marquan White,
15 CR. 538, an Aggravated Murder Indictment.

2. Affiant, in preparation for the above-referenced prosecution has reviewed all
police reports, written witness accounts, and statements.

3. In her review of the evidence, Affiant has determined that KALILO
ROBINSON is material and crucial to the prosecution of this case, particularly
because he provides evidence which shows identity of the defendant as the
shooter of the victim.

4. Affiant attempted to coordinate the testimony through the Prosecutor’s Office.
KALILO ROBINSON plans to leave town as soon as he is out of jail and not
retum for the trial.

5. KALILO ROBINSON: The State issued a subpoena to KALILO
ROBINSON. An Investigator of the Mahoning County Prosecutor’s Office
delivered the subpoena.

EXHIBIT

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6. Based on the foregoing, Affiant believes that KALILO ROBINSON is a
material witness, that his detention is necessary to procure his attendance at
trial, and that he is purposely making himself unavailable to this office.

FURTHER AFFIANT SAYETH NAUGHT, SM br os
CHL

DAWN P. CANTALAMESSA, Affiant

Sworn to before me and subsoribed i in my presence this pan day of ee 2016.

“4, ZL CZ,

Kleeb ee
BARBARA ANN VILLIANI, Notary Public

State of Ohio,
My Commission Expires: 47 oF

